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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                 MEMORANDUM


Honorable Garland E. Burrell
United States District Judge
Sacramento, California

                                         RE:    Dong SONG
                                                Docket Number: 2:08CR00543-10
                                                PERMISSION TO TRAVEL
                                                OUTSIDE THE COUNTRY

Your Honor:


The releasee is requesting permission to travel to Qui Xa City, China. He is current with
all supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On September 3, 2010, the offender pled guilty to a
violation of 18 USC 4 - Misprision of a Felony. In summary, Dong Song is alleged to have
conspired with at least 11 other individuals in running a large marijuana grow operation
which involved multiple homes throughout the Sacramento area. Although officials did not
believe Dong Song was an intrical part of the marijuana grow itself, he was seen under
surveillance entering several of the homes, and thus, knew about the operation.


Sentence imposed: The offender was sentenced to credit for time served, to be followed
by 12 months of supervised release.


Dates and Mode of Travel: The offender plans to depart on April 15, 2011, and return on
May 15, 2011.


Purpose: To attend his son's wedding and visit family and friends. According to the family,
contact has been made with the U.S. Consulate and there are no provisions which would
exclude Mr. Song from traveling to China. It does not appear Mr. Song is a flight risk, as
he has numerous family members, including immediate family, in the Sacramento area,

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and he is gainfully employed as an In Home Care worker, where he cares for his elderly
parents.
                                Respectfully Submitted,


                                    /s/ Garey R. White
                                    GAREY R. WHITE
                             United States Probation Officer

DATED:       April 4, 2011
             Sacramento, California
             GRW/sc


REVIEWED BY:           /s/ Michael A. Sipe
                       MICHAEL A. SIPE
                       Supervising United States Probation Officer



ORDER OF THE COURT:

Approved      X                                  Disapproved



Dated: April 6, 2011



                                        GARLAND E. BURRELL, JR.
                                        United States District Judge




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